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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    IN RE:                                          §   CASE NUMBER: 20-30825
    TEXAN SUPER DEALER, INC.,                       §
    DEBTOR(S)                                       §
                                                    §
                                                    §   CHAPTER 7
                                                    §
    PACTUM CAPITAL, LLC, ITS                        §
    SUCCESSORS IN INTEREST AND/OR                   §
    ASSIGNEES                                       §
                                                    §
    MOVANT                                          §   HEARING ON MOTION
                                                    §   TO LIFT STAY
    VS.                                             §   May 12, 2020
                                                    §
    TEXAN SUPER DEALER, INC.;                       §
    EVA S. ENGELHART, CHAPTER 7                     §
    TRUSTEE; CHASEWOOD, LTD.;                       §
    VICTORIA VILLAGE HOMES, LTD.;                   §
    AND OMERO DEL PAPA, III,
    RESPONDENT(S)                                       TIME: 1:30 pm

           INTERIM ORDER CONDITIONING STAY ON TWO (2) VEHICLES
                   WITH RESPECT TO PACTUM CAPITAL, LLC
                               [RELATES TO DOCKET NO. 31]

       This Court conducted a hearing on May 12, 2020 on the Motion for Relief from Automatic

Stay filed by Pactum Capital, LLC (“Movant”) (Docket No. 31), and the response filed by the

Chapter 7 Trustee (Docket No. 30), and the response filed by creditors, Chasewood, Ltd., Victoria

Village Homes, Ltd., and Omero del Papa, III (Docket No. 25). On the announcements and

arguments of counsel, it is

       ORDERED that the Automatic Stay of 11 U.S.C.§362 is hereby conditioned as to Movant,

its successors in interest and assignees, to allow Pactum Capital, LLC to take possession of the

two (2) vehicles (“the Vehicles”) described as:




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       1) 2018 Jaguar FPA; VIN SADCJ2GX3JA203988; and

       2) 2016 RAM 250; VIN 3C6UR5CL5GG281218.

       FURTHER ORDERED that upon obtaining possession of the Vehicles, Pactum Capital,

LLC shall not sell or otherwise dispose of the Vehicles pending further order of this Court.

       FURTHER ORDERED that a final evidentiary hearing regarding relief from the

automatic stay as to all vehicles and motor vehicle retail installment contracts which are the subject

of Movant’s motion for relief from automatic stay (Docket No. 31) shall be conducted on

___________________, 2020, at ______ am/pm.




                                               ReservedForJudgeSignature




Submitted by:


______________________________
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